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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION



iCHARTS LLC,

          Plaintiff,                       Civil Action No. 1:23-cv-1225-DII

     v.

TABLEAU SOFTWARE, LLC,

          Defendant.

  DECLARATION OF RYAN TYZ IN SUPPORT OF DEFENDANT’S OPPOSED
  MOTION TO TRANSFER TO THE NORTHERN DISTRICT OF CALIFORNIA
                    UNDER 28 U.S.C. § 1404(a)
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“Analyzing        the      history      of       Tableau       innovation,”        available       at

https://www.tableau.com/blog/analyzing-history-tableau-innovation (last visited January 16,

2024). This article describes the founding of Tableau by Stanford Ph.D. candidate Chris Stolte,

Stanford professor Pat Hanrahan, and Stanford alum Christian Chabot, and its “initial office” in

Mountain View, California. Ex. 1 at 3-4.

       4.      According to a Tableau webpage entitled “Tableau Innovation History,” available

at https://public.tableau.com/app/profile/jmackinlay/viz/TableauHistory/History (last visited

January 16, 2024), v1.0 of the Tableau Desktop product was released April 1, 2005.

       5.      I performed a search on the U.S. Patent Office Patent Public Search Basic page

(https://ppubs.uspto.gov/pubwebapp/static/pages/ppubsbasic.html)        for   patents   assigned   to

Tableau Software. The resulting list identified over 200 granted patents (B1 and B2 publications)

assigned to Tableau Software, the vast majority of which list inventors in California or

Washington. Patents with earliest priority dates on the list include:

               a. US 7,800,613 B2 (listing priority date December 2, 2004), entitled “Computer

                   systems and methods for visualizing data with generation of marks,” invented

                   by Patrick Hanrahan (Portola Valley, CA), and Chris Stolte (Seattle, WA).

               b. US 8,099,674 B2 (listing priority date September 9, 2005), entitled “Computer

                   systems and methods for automatically viewing multidimensional databases,”

                   invented by Jock Mackinlay (Bellevue, WA), Patrick Hanrahan (Portola Valley,

                   CA), and Chris Stolte (Seattle, WA).

               c. US 7,999,809 B2 (listing priority date April 19, 2006), entitled “Computer

                   systems and methods for automatic generation of models for a dataset,”

                   invented by Andrew C. Beers (San Francisco, CA), Matthew Eldridge (Seattle,




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                   WA), Patrick M. Hanrahan (Portola Valley, CA), Jonathan E. Taylor (Stanford,

                   CA).

       6.      According to a Salesforce press release dated August 1, 2019 and entitled

“Salesforce       Completes         Acquisition        of       Tableau,”        available       at

https://www.salesforce.com/news/press-releases/2019/08/01/salesforce-completes-acquisition-

of-tableau/ (last visited January 16, 2024), Salesforce announced on August 1, 2019 that it

“completed its acquisition of Tableau Software.”

       7.      According to a Tableau press release dated September 4, 2012 and entitled

“Tableau Software Opens Austin Office in Midst of Massive Growth,” available at

https://www.tableau.com/about/press-releases/2012/tableau-software-opens-austin-office-midst-

massive-growth (last visited January 16, 2024), Tableau announced its opening of an office in

Austin, Texas about September 4, 2012.

       8.      According to his LinkedIn profile, available at https://www.linkedin.com/in/jay-

peir-84b19143/ (last visited January 16, 2024), Jay Peir served as Tableau’s Executive Vice

President, Corporate Development & Strategy, and his location is listed as Los Altos, California.

       9.      According to       the LinkedIn profile of Andy Firestone, available at

https://www.linkedin.com/in/andy-firestone-83137322/ (last visited January 16, 2024), Mr.

Firestone served as Tableau’s Manager, Corporate Development and Strategy, and his current role

is Salesforce Director of Corporate Development in San Francisco, California.

III.   ICHARTS, INC.

       10.     Attached hereto as Exhibit 2 is a true and correct copy of an “Initial Filing” made

with the California Secretary of State for iCharts, Inc. (“ICI”). This document was retrieved from

the California Secretary of State website at https://bizfileonline.sos.ca.gov/search/business (last

visited January 16, 2024). The document, dated March 7, 2008 and entitled “Statement and


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Designation by Foreign Corporation” states that the “principal executive office” and “principal

office in the State of California” for ICI is 946 Tamarack Lane #8, Sunnyvale, California.

       11.     According to the LinkedIn profile of Seymour Duncker, available at

https://www.linkedin.com/in/seymourduncker/ (last visited January 16, 2024), Mr. Duncker’s

work location from 2010 – 2018 when he was “CEO & Founder” of ICI, and his current work

location, is listed as “Mountain View, California.”

       12.     Attached hereto as Exhibit 3 is a true and correct printout of a webpage for the

2008          Tech          Crunch           50             Conference,             available          at

https://web.archive.org/web/20080911045258/http://www.techcrunch50.com/2008/conference/pr

esenter.php?presenter=69#video (last visited January 16, 2024). The webpage lists the location of

the conference as San Francisco, CA.

       13.     According     to   the   LinkedIn       profile    of    Rajesh    Setty,   available   at

https://www.linkedin.com/in/rajesh301/ (last visited January 16, 2024), Mr. Setty is an ICI “co-

founder and his location is Santa Clara, California.

       14.     According    to    the   LinkedIn      profile    of    Kevin     Adams,    available   at

https://www.linkedin.com/in/kevinjadams/ (last visited January 16, 2024), Mr. Adams is the

former ICI “VP of Engineering” of ICI and his location is San Jose, California. The webpage

states that Mr. Adams modernized the ICI platform “from legacy server and client technologies to

current technology” from 2013 to 2018, and “[h]ands on” developed “several core platform

features.”

       15.     According    to    the   LinkedIn   profile       of    Andrey    Yruski,   available   at

https://www.linkedin.com/in/andreyy/ (last visited January 16, 2024), Mr. Yruski is the former ICI

“CTO” and his location is San Francisco, California.




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       16.     According     to     the   LinkedIn   profile   of    Britt   Cyester,   available    at

https://www.linkedin.com/in/britt-cyester-3430751/ (last visited January 16, 2024), Mr. Cyester is

the former ICI “Vice President of Sales” and his location is Campbell, California.

       17.     According     to   the     LinkedIn   profile   of   Rico     Andrade,   available    at

https://www.linkedin.com/in/ricoandrade/ (last visited January 16, 2024), Mr. Andrade is the

former ICI “VP of Marketing” and his work location is Redwood City, California.

       18.     According to the LinkedIn profile of Valerie Duncker, available at

https://www.linkedin.com/in/valerieduncker/ (last visited January 16, 2024), Ms. Duncker is a

former ICI marketing, operations and finance manager and her location is Los Altos, California.

       19.     According to the LinkedIn profile of Soon-Chul Choi, available at

https://www.linkedin.com/in/soon-chul-choi-cpa-5354182/ (last visited January 16, 2024), Mr.

Choi is the former ICI “Vice President of Finance and Administration” and his location is the

greater Seattle, Washington area.

       20.     Attached hereto as Exhibit 4 is a true and correct copy of iCharts, Inc.’s “Voluntary

Petition for Non-Individuals Filing for Bankruptcy,” filed April 30, 2018 in the Northern District

of California Bankruptcy Court, Case No. 18-50958 (Docket No. 1). The document states that

“Debtor has had its domicile, principal place of business, or principal assets in this district for 180

days immediately preceding the date of this petition or for a longer part of such 180 days than in

any other district,” gives iCharts’ current “Principal place of business” as 140 S. Whisman Road,

Unit A, Mountain View, California, and lists a prior address (from 2006 to 2016) at 440 N. Wolfe

Road, Sunnyvale, California. Id. at 1, 3, 70. This document also suggests Mr. Duncker’s home

address at that time was in Los Altos, as it identifies Mr. Duncker as Debtor ICI’s “CEO,” and lists

a Los Altos, California address for Valerie Duncker, “spouse of debtor’s CEO.” Id. at 4, 65-66.




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       21.     Attached hereto as Exhibit 5 is a true and correct copy of a “Declaration of Fred

Hjelmeset” filed February 3, 2020 in the Northern District of California Bankruptcy Court, Case

No. 18-50958 (Docket No. 40-1). The declaration attaches a January 27, 2020 “Agreement to

Settle Litigation Claim, Purchase Source Code and General Release,” apparently signed by

Seymour Duncker (identified in the Agreement as “Buyer”). Id. at 4, 9. The attached Agreement

states that Mr. Hjelmeset (as Chapter 7 Trustee of ICI’s bankruptcy estate) will upon payment

“convey[] all of the Estate’s right, title, and interest, if any, in and to” ICI’s “Source Code” to the

Buyer for $1,000. Id. at 6 ¶ 6, 4. The Source Code is identified as “business intelligence software

that can operate as a standalone tool or can be integrated with NetSuite and was developed by the

Debtor’s engineering team.” Id. at 4 ¶ G.

       22.     Attached hereto as Exhibit 6 is a true and correct copy of the “Trustee’s Final

Report (TFR)” filed May 26, 2020 in the Northern District of California Bankruptcy Court, Case

No. 18-50958 (Docket No. 50). On page 3, the Trustee states that the “Estimated Net Value” of

ICI’s “8 patents & computer code” is $100.00, and he reports $1,000 in “Sale/Funds Received by

the Estate” for assets in that category.

       23.     On July 2, 2020, a letter dated June 18, 2020 and signed by “Seymour Duncker”

was filed in the Northern District of California Bankruptcy Court, Case No. 18-50958 (Docket No.

66). This letter describes the author’s prior “offer to purchase iCharts’ residual intellectual

property, including its eight scheduled patents, for consideration of $5,000.”

       24.     According to a webpage of The State Bar of California, available at

https://apps.calbar.ca.gov/attorney/Licensee/Detail/184744 (last visited January 16, 2024), Fred

Sture Hjelmeset has an active license to practice law in California, and a mailing address in

Mountain View, California.




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       25.     Attached hereto as Exhibit 7 are true and correct copies of the following excerpts

from the patent file history for Patent Application No. 12/205,802, which later issued as U.S.

Patent No. 8,271,892, available online from the U.S. Patent Office:

               a. Ex. 7 at 001-008: April 27, 2012 “Amendment and Reply Under 37 CFR §

                  1.111” filed in the U.S. Patent Office as part of the prosecution.            The

                  Amendment was signed by Alex Y. Nie of Foley & Lardner.

               b. Ex. 7 at 009-013: July 11, 2012 “Notice of Allowance and Fee(s) Due.”

               c. Ex. 7 at 014-021: Documents regarding transfer to the Polsinelli LLP San

                  Francisco office of responsibility and Power of Attorney over this patent’s files

                  around February 2016.

       26.     Attached hereto as Exhibit 8 are true and correct copies of the following excerpts

from the patent file history for Patent Application No. 12/372,696, which later issued as U.S.

Patent No. 8,520,000, available online from the U.S. Patent Office:

               a. Ex. 8 at 001-006: December 19, 2012 “Amendment and Reply Under 37 CFR

                  § 1.116” filed in the U.S. Patent Office. The Amendment was signed by Alex

                  Y. Nie of Foley & Lardner.

               b. Ex. 8 at 007-012: April 25, 2013 “Notice of Allowance and Fee(s) Due.”

               c. Ex 8 at 013-020: Documents regarding transfer to the Polsinelli LLP San

                  Francisco office of Power of Attorney over this patent’s files around February-

                  March 2016.

       27.     According    to    the   LinkedIn     profile   of     Alex   Nie,   available    at

https://www.linkedin.com/in/alexnie/ (last visited January 16, 2024), Mr. Nie left Foley & Lardner

in 2014 and currently works at Sheppard Mullin Richter & Hampton LLP in Palo Alto, CA.




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       28.    Attached hereto as Exhibit 9 are true and correct copies of the following excerpts

from the patent file history for Patent Application No. 14/530,309, which later issued as U.S.

Patent No. 9,712,595, available online from the U.S. Patent Office:

              a. Ex. 9 at 001: July 14, 2015 “List of Co-Pending Patents …” showing Mr.

                  Wnuk’s work address in the file history as Lewis Roca Rothgerber LLP, 4300

                  Bohannon Drive, Suite 230, Menlo Park, CA.

              b. Ex. 9 at 002-007: Documents regarding transfer to the Polsinelli LLP San

                  Francisco office of Power of Attorney over this patent’s files around February

                  2016.

              c. Ex. 9 at 008-009: April 12, 2017 “Supplemental Information Disclosure

                  Statement” listing Mr. Wnuk’s work address as Polsinelli LLP, Three

                  Embarcadero Center, Suite 1350, San Francisco, CA.

              d. Ex. 9 at 011-026: May 4, 2017 “Notice of Allowance and Fee(s) Due” and

                  related documents by the U.S. Patent Office. The “Examiner’s Amendment &

                  Reasons for Allowance” states that “Authorization for” these amendments was

                  given by attorney “Jacek Wnuk” on April 24, 2017. Ex. 9 at 017, 015.

              e. Ex. 9 at 027-031: Documents regarding the 2021 confirmation by Plaintiff of

                  Power of Attorney over this patent’s files for the Polsinelli LLP San Francisco

                  office. See also id. at 037.

              f. Ex. 9 at 035-036: October 7, 2021 “Petition to Accept Unintentionally Delayed

                  Payment of Maintenance Fee in an Expired Patent.” The document bears the

                  signature of “Jacek Marek Wnuk” and states that “The delay in payment of the

                  maintenance fee for this patent was unintentional.” Ex. 9 at 035-036. The U.S.




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                     Patent Office granted the petition and reinstated the patent “as of October 7,

                     2021.” Ex. 9 at 032.

         29.      According     to   the   LinkedIn    profile   of     Jacek     Wnuk,          available    at

https://www.linkedin.com/in/jacekmw/ (last visited January 16, 2024), Mr. Wnuk’s work location

is at Polsinelli in San Francisco, CA.

         30.      According to documents available from the U.S. Patent Office, U.S. Patents Nos.

8,271,892, 8,520,000, and 9,712,595, were allegedly assigned from iCharts, Inc. (represented by

Seymour Duncker, CEO) to ichasoco LLC (represented by Valerie Duncker, Managing Member)

around         September      13,    2021.        Documents           available       at     https://legacy-

assignments.uspto.gov/assignments/assignment-pat-57589-819.pdf              (Patent        No.     8,271,892);

https://legacy-assignments.uspto.gov/assignments/assignment-pat-57591-236.pdf                    (Patent     No.

8,520,000);        https://legacy-assignments.uspto.gov/assignments/assignment-pat-57594-862.pdf

(Patent No. 9,712,595), all last visited January 16, 2024. On the first page of each of these

documents, Polsinelli LLP is listed as the “Correspondent” at its San Francisco address.

         31.      According to documents available from the U.S. Patent Office, U.S. Patents Nos.

8,271,892, 8,520,000, and 9,712,595, were allegedly assigned from ichasoco LLC (represented by

Valerie Duncker, Managing Member) to iCharts LLC (a Delaware corporation with “principal

place of business” in Phoenix, Arizona and represented by Nisha Agarwal, President and

Managing Member) around September 20, 2021.                 Documents available at https://legacy-

assignments.uspto.gov/assignments/assignment-pat-57590-437.pdf              (Patent        No.     8,271,892);

https://legacy-assignments.uspto.gov/assignments/assignment-pat-57593-936.pdf                    (Patent     No.

8,520,000);         https://legacy-assignments.uspto.gov/assignments/assignment-pat-57595-97.pdf

(Patent No. 9,712,595), all last visited January 16, 2024. On the first page of each of these




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documents, Polsinelli LLP is listed as the “Correspondent” at its San Francisco address.

IV.    LOCATION OF PRIOR ART WITNESSES

       32.     According to an Adobe webpage entitled “Adobe fast facts,” available at

https://www.adobe.com/about-adobe/fast-facts.html (last visited January 16, 2024), Adobe’s

“Corporate headquarters” is located in San Jose, California. Attached hereto as Exhibit 10 is a

true and correct true and correct copy of U.S. Patent No. 8,938,693, entitled “Systems and Methods

for Managing Instantiation of Interface Objects,” which discloses “processing … on the client

computer” of “Internet applications” with “rich graphical presentation” using flash. See, e.g., id.

at 1:15-17, 1:60-65, 2:6-13. This patent claims priority to 2004 and lists three NDCA inventors,

in San Francisco, Novato, and Oakland, CA. Attached hereto as Exhibit 11 is a true and correct

true and correct copy of U.S. Patent No. 7,827,494, entitled “Layout Management Using Data-

Descriptive Meta Language Documents,” which discloses “manipulating the layout … without

round-tripping back to portal server 201 to re-build the layout” because “all of the information that

controls the visual layout of the entire portal now resides on client computer 200,” using flash.

See, e.g., id. at 4:10-36. This patent lists a filing date in 2005 and lists two inventors in San

Francisco, CA. Both patents list Adobe Systems Incorporated in San Jose, CA, as the assignee.

According to the LinkedIn profile for Scott Dreier (listed as an inventor on U.S. Patent No.

7,827,494), available at https://www.linkedin.com/in/scottdreier/ (last visited January 16, 2024),

Mr. Dreier’s current employment is as Senior Product Manager at Adobe in San Francisco.

       33.     Attached hereto as Exhibit 12 is a true and correct true and correct copy of U.S.

Patent No. 8,930,812, entitled “System and Method for Embedding, Editing, Saving, and Restoring

Objects within a Browser Window,” which lists four inventors in the San Francisco Bay Area

(Mountain View, San Mateo, and Sunnyvale, CA), and its assignee, VMWare, Inc., in Palo Alto,

CA.                  According           to        the         VMware            webpage           at


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https://www.vmware.com/company/office locations.html (last visited January 16, 2024),

“VMware is now part of Broadcom.”                  According to the Broadcom webpage at

https://www.broadcom.com/company/contact/locations       (last   visited    January   16,   2024),

Broadcom’s “Corporate Headquarters” is in Palo Alto, California. According to LinkedIn profiles

for the four inventors, all are located in NDCA:

               a. Ross Dargahi - “Mountain View, California,” LinkedIn profile available at

                  https://www.linkedin.com/in/rossd/ (last visited January 16, 2024).

               b. Kevin Henrikson - “San Francisco Bay Area,” LinkedIn profile available at

                  https://www.linkedin.com/in/kevinhenrikson/ (last visited January 16, 2024).

               c. Andy Clark - “San Jose, California,” LinkedIn profile available at

                  https://www.linkedin.com/in/andclark/ (last visited January 16, 2024).

               d. Jongyoon Lee - “San Mateo, California,” LinkedIn profile available at

                  https://www.linkedin.com/in/jongyoon-lee/ (last visited January 16, 2024).

       34.     Attached hereto as Exhibit 13 is a true and correct copy of U.S. Patent No.

8,307,119, entitled “Collaborative Online Spreadsheet Application,” and indicating assignment to

Google, Inc. in Mountain View, California.

       35.     Attached hereto as Exhibit 14 is a true and correct copy of U.S. Patent No.

8,869,027, entitled “Management and Generation of Dashboards,” identifying Apple Inc. in

Cupertino,   California   as   the   assignee.      According    to   the   Apple     webpage   at

https://www.apple.com/contact/ (last visited January 16, 2024), Apple’s “Corporate Address” is

in Cupertino, California. According to LinkedIn profiles for the three inventors, two are located

in NDCA:

               a. Imran Chaudhri - “San Francisco, California,” LinkedIn profile available at




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                   https://www.linkedin.com/in/imran-chaudhri/ (last visited January 16, 2024).

               b. Mike Shebanek - “Sunnyvale, California,” LinkedIn profile available at

                   https://www.linkedin.com/in/mikeshebanek/ (last visited January 16, 2024).

               c. John Louch - “Boulder, Colorado,” LinkedIn profile available at

                   https://www.linkedin.com/in/johnlouch/ (last visited January 16, 2024).

       36.     According to a Spotfire webpage entitled “Contact Us | Spotfire,” available at

https://www.spotfire.com/contact-us (last visited January 16, 2024), Spotfire has an office in Santa

Clara, CA. According to a TIBCO Press Release dated July 10, 2007 and entitled “TIBCO Spotfire

DXP               2.0             Now               Shipping,”             available              at

https://web.archive.org/web/20080604031242/http://spotfire.tibco.com/news/press releases/detai

l.cfm?id=6903 (last visited January 16, 2024), Spotfire was “a division of TIBCO Software Inc.”

According to the TIBCO webpage at https://www.tibco.com/contact-us (last visited January 16,

2024), TIBCO’s “Corporate Headquarters” is in Palo Alto, California. Attached hereto as Exhibit

15 is a true and correct true and correct copy of U.S. Patent No. 9,043,266, entitled “Unified

Interactive Data Analysis System,” mentioning the Spotfire system, and identifying TIBCO

Software, Inc. in Palo Alto, California as the assignee.

V.     COURT CONVENIENCE AND CONGESTION

       37.     Attached hereto as Exhibit 16 and 17 are true and correct printouts of driving

directions obtained from https://maps.google.com providing representative driving time

information from, respectively, the Seattle Courthouse (700 Stewart Street, Suite 2310, Seattle,

WA, Western District of Washington) to San Francisco Courthouse (450 Golden Gate Avenue,

San Francisco, CA, Northern District of California), and from the Seattle Courthouse to the Austin,

Texas Courthouse (501 West Fifth Street, Suite 1100, Austin, Texas, Western District of Texas).

These directions list the Seattle-San Francisco distance as 808 miles, and the Seattle-Austin


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distance as 2118 miles.

       38.       Attached hereto as Exhibit 18 is a true and correct true and correct copy of a report

from https://www.kayak.com providing representative direct flight information from Seattle

International Airport to (SEA) to Austin, Texas Bergstrom Airport (AUS). The fastest flight listed

in the report is almost 4 hours, and includes a two hour time zone change.

       39.       Attached hereto as Exhibit 19 is a true and correct true and correct copy of a report

from https://www.kayak.com providing representative direct flight information from Seattle

International Airport to (SEA) to San Francisco International Airport (SFO). The fastest flight

listed in the report is slightly over two hours, and requires no time zone change.

       40.       Attached hereto as Exhibit 20 are a true and correct true and correct copies of charts

generated on the Lex Machine website at https://law.lexmachina.com, providing median time to

trial for pending patent cases in the Northern District of California and Western District of Texas

in recent years. The following summary information is drawn from these charts:

             Metric                                   NDCA                WDTX
             Median Time to Trial for patent cases    704 days            779 days
             pending 1/1/2015 to 12/31/2023
             Median Time to Trial for patent cases    624 days            774 days
             pending 1/1/2018 to 12/31/2023


VI.    CONFERENCE BETWEEN THE PARTIES

       41.       On December 20, 2023, I held a meet and confer teleconference with Plaintiff’s

counsel, during which Plaintiff’s counsel requested a draft copy of Tableau’s Motion to Transfer,

which they stated they needed to review before deciding whether to oppose the motion.

       42.       On January 18, 2024, after my firm had provided the motion draft to Plaintiff’s

counsel, I held a second meet and confer teleconference with Plaintiff’s counsel. On that

teleconference, I asked Plaintiff’s counsel whether the motion contained any inaccurate



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information about iCharts or its predecessor, and they stated that they were not aware of any such

inaccuracies in the motion. I also asked if Plaintiff’s counsel were aware of any witnesses to this

case in Texas outside of Tableau or Tableau customers, and they refused to answer.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed January 19, 2024 in Larkspur, CA.

                                                       /s/ Ryan Tyz
                                                        Ryan Tyz




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